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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


JULIE A. SMITH,                                  )
                                                 )
                       Plaintiff,                )
                                                 )
v.                                               )
                                                 )                Case No. 18-2340-CM-KGS
KANSAS PUBLIC EMPLOYEES                          )
RETIREMENT SYSTEM,                               )
                                                 )
                       Defendant.                )
                                                 )

                                    MEMORANDUM AND ORDER

       Plaintiff Julie A. Smith brought this discrimination and retaliation action against her former

employer, defendant Kansas Public Employees Retirement System. Plaintiff claims that she was

subject to disparate treatment and retaliation in violation of the Americans with Disabilities Act

(“ADA”), Age Discrimination in Employment Act (“ADEA”), and the Family Medical Leave Act

(“FMLA”). Defendant filed a counterclaim for breach of contract, arguing that plaintiff agreed in

writing to release her claims against defendant in exchange for retaining a position with defendant

through October 1, 2018. Plaintiff then filed a Motion to Dismiss for Failure to State a Claim Upon

Which Relief Can Be Granted (Doc. 6). In this motion, plaintiff argues that (1) defendant failed to

include a statement of jurisdiction in its counterclaim; (2) defendant’s counterclaim does not satisfy the

notice pleading standard of Fed. R. Civ. P. 8; (3) defendant cannot assert release/breach of contract as

a counterclaim; and (4) defendant cannot assert a claim for attorney’s fees. The court addresses each

of these arguments below.

         Is defendant required to include a statement of jurisdiction in its counterclaim?




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       Plaintiff alleges that defendant’s counterclaim requires a statement of jurisdiction, and, because

it does not include one, should be dismissed. Specifically, plaintiff alleges that her claim arises under

federal law and that defendant must state why this court has jurisdiction over its state law breach of

contract counterclaim. Defendant responds that a statement of jurisdiction is not required when the

counterclaim is compulsory. Plaintiff disagrees that the counterclaim is compulsory.

       Fed. R. Civ. P. 8(a)(1) requires a statement of the grounds for the court’s jurisdiction unless the

court already has jurisdiction and the claim needs no jurisdictional support. Whether the district court

has jurisdiction over a counterclaim depends upon whether the counterclaim is compulsory. Adamson

v. Dataco Derex, Inc., 178 F.R.D. 562, 564 (D. Kan. 1998) (citing Pipeliners Local Union No. 798 v.

Ellerd, 503 F.2d 1193, 1198 (10th Cir. 1974)); Gus T. Handge & Son Painting Co. v. Douglass State

Bank, 543 F. Supp. 374, 380 (D. Kan. 1982). If the counterclaim is compulsory, the court has

jurisdiction. Pipeliners Local Union No. 798, 503 F.2d at 1198. If the counterclaim is permissive,

there must be an independent ground of federal jurisdiction. Id.

       A counterclaim is compulsory “if it arises out of the same transaction or occurrence that is the

subject matter of the opposing party’s claim.” Fed. R. Civ. P. 13(a). If it does not arise out of the

same transaction or occurrence, the counterclaim is permissive. Fed. R. Civ. P. 13(b). The sole issue,

therefore, is whether defendant’s counterclaim for breach of contract “arises out of the same

transaction or occurrence” as plaintiff’s employment claims.

       The Tenth Circuit joined “most courts” in its adoption of four factors to consider when

deciding if a counterclaim is compulsory:

               (1) Are the issues of fact and law raised by the claim and counterclaim
               largely the same?
               (2) Would res judicata bar a subsequent suit on defendants’ claim absent
               the compulsory counterclaim rule?
               (3) Will substantially the same evidence support or refute plaintiffs’
               claim as well as defendants’ counterclaim? and,



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               (4) Is there any logical relation between the claim and the counterclaim?

Pipeliners Local Union No. 798, 503 F.2d at 1198 (citing Wright and Miller, Federal Practice and

Procedure, Civil § 1410). “The ‘logical relation’ test is the most controlling.” Id. (citing Moore v. N.Y.

Cotton Exch., 270 U.S. 593 (1926)).

       Because of its importance, the court looks first at the “logical relation” test. It appears that,

when considering the totality of the facts presented, there is a strong logical relationship between the

claims. Both claims center around plaintiff’s employment and the conditions thereof. Defendant’s

counterclaim alleges that by signing the agreement, plaintiff released many of the exact claims she has

brought here. Though she does not challenge the agreement’s validity, plaintiff alleges that the

agreement was essentially a turning point in her constructive discharge. And defendant’s answer raises

an affirmative defense of release, requiring the court to examine the release as part of the case. The

logical relationship between the agreement and discrimination claims is very close and the “most

controlling” factor is convincing on its own.

       Next, the court looks at the issues of fact and law. Issues of fact raised by both claims appear

largely the same. Plaintiff’s various claims allege she was discriminated against and include specific

claims she was put under immense pressure to choose between immediate termination and signing the

employment agreement at issue in the counterclaim. Although resolution of plaintiff’s claims will

require evidence regarding her specific treatment and her medical condition outside the agreement, she

specifically alleges that circumstances surrounding the agreement led to her constructive discharge,

making the agreement a central issue to her case.         As a result, the agreement at issue in the

counterclaim relates to plaintiff’s claims because the agreement is a major event supporting her claims

of termination/constructive discharge and the terms of the agreement are crucial to the events alleged

after it was signed. Plaintiff will need to provide evidence of the timing and circumstances surrounding




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the agreement, the terms of her demotion, and the specific terms of the agreement. The agreement also

acts a time marker in plaintiff’s timeline. After describing the agreement and the difficult decision she

was forced to make in signing it, the complaint alleges that her working conditions significantly

deteriorated into a constructive discharge after she signed the agreement and accepted the demotion—

she was forced to train her replacement and excluded from team meetings based on her new job title

under the agreement. The court expects that plaintiff will offer a substantial amount of evidence

relating to the counterclaim as part of her own claim.

       The court next turns to the issue of res judicata. Res judicata bars a claim “when there is a final

judgment on the merits which precludes the parties or their privies from relitigating the issues that

were decided or issues that could have been raised in the earlier action.” Driver Music Co. v.

Commercial Union Ins. Cos., 94 F.3d 1428, 1435 (10th Cir. 1996) (quoting Frandsen v. Westinghouse

Corp., 46 F.3d 975, 978 (10th Cir. 1995) (citing Allen v. McCurry, 449 U.S. 90, 94 (1980))). Res

judicata principles bar a claim “when the prior action involved identical claims and the same parties or

their privies.” Id. (quoting Frandsen, 46 F.3d at 978). Here, the link between the claims is probably

too tenuous to rise to res judicata level. The claims are not “identical” and a separate breach of

contract claim would not require “relitigating issues” raised in the earlier action.

       Finally, as described above, much of the same evidence may be used to support or refute both

plaintiff’s claim and defendant’s counterclaim. Specifically, the terms of the agreement, her demotion,

and the circumstances surrounding its execution are important to both. Cases finding the nexus

between the claims too tenuous often involve trade secret misappropriation or set-off claims, but these

cases do not address a situation where the agreement at issue in the counterclaim is actually alleged as

evidence of the discrimination and constructive discharge. See, e.g., Adamson v. Dataco Derex, Inc.,

178 F.R.D. 562, 566 (D. Kan. 1998) (finding counterclaim for misappropriation of trade secrets not




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compulsory). Here, the nexus is much closer and requires overlapping evidence. Plaintiff must

provide substantial evidence regarding the agreement as a part of her various claims and to rebut the

counterclaim.

       After considering all the factors, the court determines that the counterclaim for breach of

contract is compulsory because of the strong logical relationship (the “most controlling” factor) and the

overlap in evidence required for both claims. Defendant therefore did not need to make a separate

statement of jurisdiction.

                     Does defendant’s counterclaim satisfy Fed. R. Civ. P. 8(b)?

       Plaintiff alleges defendant failed to adequately plead its breach of contract counterclaim in

accordance with Fed. R. Civ. P. 8. Specifically, plaintiff argues that defendant failed to properly plead

the elements of a breach of contract.

       Rule 8(a) requires a “a short and plain statement of the claim showing that the pleader is

entitled to relief.” This court will grant a Rule 12(b)(6) motion to dismiss only when the factual

allegations fail to “state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007). While the factual allegations need not be detailed, the claims must set forth

entitlement to relief “through more than labels, conclusions, and a formulaic recitation of the elements

of a cause of action.” In re Motor Fuel Temperature Sales Practices Litig., 534 F. Supp. 2d 1214,

1216 (D. Kan. 2008). Allegations must contain facts sufficient to state a claim that is plausible, rather

than merely conceivable. Id. A plaintiff (or in this case, counterclaimant) must “nudge his claims

across the line from conceivable to plausible” in order to survive a motion to dismiss. Twombly, 550

U.S. at 570.

       After considering defendant’s answer and counterclaim, the court determines that the

counterclaim crosses the line from conceivable to plausible. Plaintiff argues that the counterclaim is




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conclusory and merely contains a formulaic recitation of the elements of a contract. At first glance,

this appears correct, but the motion to dismiss is considered in light of the pleadings as a whole.

        The elements for a breach of contract counterclaim are: (1) the existence of a contract between

the parties; (2) consideration; (3) the counterclaimant’s performance or willingness to perform in

compliance with the contract; (4) counterclaim defendant’s breach of the contract; and (5) that

counterclaimant was damaged by the breach. Ice Corp. v. Hamilton Sundstrand Inc., 444 F. Supp. 2d

1165, 1169 (D. Kan. 2006). Many of the facts that establish the counterclaim are found throughout

plaintiff’s complaint and defendant’s answer. For example, the counterclaim alleges plaintiff “entered

into a written agreement with Defendant.” The contract formation itself is conclusory, but plaintiff

already conceded that she entered the agreement in her own complaint (Doc. 1, at ¶ 52 (“Plaintiff

accepted the last option to continue her employment and be terminated October 1, 2018”)). Based on

this, the existence of a contract can be inferred.

        Consideration can also be found in ¶ 143 of the answer, which states “In exchange for

employment as an Investment Strategist, the Agreement contains a General Release.” The court

assumes this fact is true, rendering employment as an investment strategist the alleged consideration

for the release.

        The third element, as defendant points out, is inherent throughout the complaint. Paragraphs

54–72 of plaintiff’s complaint contain factual allegations of what occurred at work after she accepted

the agreement and continued her employment; the permissible implication is that defendant was

willing to (and did) perform in compliance with the contract.

        The counterclaim also states, “the Agreement contains a General Release, releasing Defendant

from all claims, causes of action, costs and attorney’s fees related to Plaintiff’s employment from her

date of hire” (Doc. 3, at ¶ 143), which is another fact the court must accept as true. Given the nature of




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plaintiff’s claim, this fact alone plausibly suggests that plaintiff breached the agreement when she

brought her claim. As a result of this alleged breach, defendant was damaged by having to defend this

action.

          The purpose of Fed. R. Civ. P. 8(a) is to provide notice and some factual detail regarding the

claim. The elements of a contract are found throughout the pleadings in this case, such as plaintiff

conceding she accepted the offer of demotion and release of claims in exchange for a delayed

termination. The terms and subsequent breach are properly alleged in the counterclaim. Accordingly,

the counterclaim satisfies the notice pleading standard and provides plaintiff with fair notice of the

claim and the grounds on which it rests.

               Can defendant allege release/breach of contract claim as a counterclaim,
                                  with attorney’s fees as damages?

          Plaintiff argues that defendant cannot raise the release as a counterclaim because release is an

affirmative defense. Plaintiff further argues that defendant is not entitled to attorney’s fees because the

“American rule” does not allow attorney’s fees unless provided by statute or contract.

          These issues are not ones that the court intends to resolve on a motion to dismiss, particularly

without the contract attached.      Whether defendant may bring a counterclaim and a request for

attorney’s fees depends on the language in the parties’ agreement. And there is much disagreement

between the courts as to whether either is permissible in this situation. The parties have not provided

the court with adequate citation to caselaw in support of their positions. Nevertheless, the court

researched the issue on its own, but determines that plaintiff has not met her burden of showing that

she is entitled to dismissal of the counterclaim at this time. Plaintiff’s motion is denied on these issues,

but plaintiff may raise the arguments again, with more factual and legal support.




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       IT IS THEREFORE ORDERED that plaintiff/counterclaim defendant’s Motion to Dismiss

for Failure to State a Claim Upon Which Relief Can Be Granted (Doc. 6) is denied.

       Dated this 28th day of January, 2019, at Kansas City, Kansas.


                                                   s/ Carlos Murguia_______________
                                                   CARLOS MURGUIA
                                                   United States District Judge




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